              Case 1:21-cr-00552-DLF Document 63 Filed 02/23/23 Page 1 of 7



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA   :
                            :
          v.                :                            Case No. 1:21-cr-00552-DLF
KENNETH JOSEPH OWEN THOMAS, :

                                 Defendant       :



DEFENDANT KENNETH JOSEPH OWEN THOMAS’S MOTION TO DISMISS ON
GROUNDS OF MULTIPLICITY AND INSUFFIENCY OF FACTUAL BASIS FOR ASSAULT
CHARGES


COMES NOW Defendant Kenneth Joseph Owen Thomas (“Defendant” or “Thomas”) with this

motion to dismiss the assault charges in this case on two grounds. First: (1) multiplicity. In that the

five assault allegations appear to stem from a common set of actions and intent; and second (2) that the

‘assaulting officer’ counts do not allege conduct that rises to the level contemplated by 18 U.S.C.

§111(a)(1).

                                            BACKGROUND

        Like untold thousands of protestors and demonstrators that have gone before, defendant

Thomas participated in a demonstration that turned violent in some respects. Heavily-armored riot

police with shields used force to advance against protestors. Unlike such demonstrators in the past,

however, Thomas finds himself charged with numerous felony assault charges for allegedly merely

brushing or rubbing against riot police or pushing against police shields during hectic moments of

crowd chaos.



                                                     1
            Case 1:21-cr-00552-DLF Document 63 Filed 02/23/23 Page 2 of 7



       (As a side note, the government’s provided discovery consists of bodycam and cell phone

videos purportedly depicting Thomas on Jan. 6 outside the Capitol in the late afternoon. Thomas’

alleged physical contacts with law enforcement shields and armor are obvious impulsive displays,

devoid of any intention of harming officers.)

       In this motion, Thomas cites extensive case law indicating that 1) separate counts of aggravated

assault are not warranted for each officer touched in a crowd-control skirmish line unless a defendant

purposely reflected separately on each alleged “assault”; and 2) mere harmless elbowing or pushing

resistance, or mere brushing against a police shield during demonstration does not constitute

aggravated felony assault on law enforcement, as contemplated by 18 U.S.C. §111. Moreover:


   1. Riot officers are specially equipped and trained officers. They don special crowd control gear
      in preparation, expectation and anticipation of making forceful contact with protestors in
      chaotic situations.
   2. Riot officers wearing “hard gear” then position themselves in aggressive advancement
      formations in order to push out crowds of demonstrators. They intend and expect to make
      physical contact.
   3. Under these circumstances it is unfair and a violation of the 6th amendment to subject
      protestors making contact with officers to prosecution for felony assault under 18 U.S.C.
      Section 111.
   4. After all, the very reason that mere simple assaults on law enforcements are treated as
      aggravated assaults is that officers need protection in a wide variety of situations so that officers
      may enforce the law and collect evidence. But in circumstances where officers are equipping
      and using themselves as forceful crowd control tools, the basis for special protections
      evaporates.
Moreover,
   5. Demonstrators who brush or push against multiple officers during protest chaos should not be
      subjected to felony assault prosecutions at all—and certainly not separate prosecutions for
      every police shield rubbed against.
Thomas’ indictment chills 1st amendment protections.




                                                   2
            Case 1:21-cr-00552-DLF Document 63 Filed 02/23/23 Page 3 of 7



        Thomas should not face more than 100 years in prison for participating in a protest rally that

got out of hand. Such overcharging of January 6 rally attendees chills first amendment rights of future

Americans who will fear speaking out against government in public protests.

        In Johnson v. United States, 559 U.S. 133 (2010), the Supreme Court discussed the concept of

force and violence in context of federal gun laws. “As we have discussed, however, the term “physical

force” itself normally connotes force strong enough to constitute “power.” Id. “A crime that can be

committed through mere recklessness does not have as an element the “use of physical force” because

that phrase “has a well-understood meaning applying only to intentional acts designed to cause harm.”

        As the great Judge Posner wrote in United States v. Watts 798 F.3d 650 (7th Cir. 2015) regarding

an adjacent assault statute (18 U.S.C. § 113(a)(3), “This is a badly drafted statute.” “Neither ‘assault’

nor ‘simple assault’ is defined,” wrote Posner. “Although the word ‘assault’ is sometimes used loosely

to include a battery, and the whole expression ‘assault and battery’ to mean battery, it is more accurate

to distinguish between the two separate crimes, assault and battery, on the basis of the existence or

non-existence of physical injury or offensive touching.” Id., citing Wayne R. LaFave, 2 Substantive

Criminal Law § 16.1 (2d ed., Westlaw database updated Sept. 2014) (footnotes omitted).

        Courts in a wide variety of other situations have likewise discussed the varying dimensions of

federal “assault” statutes. A general consensus is that “assault” as used in the federal criminal code does

not include mere touching, bumping, or brushing against another person. See United States v. Vallery,

437 F.3d 626, 631–32 (7th Cir.2006) (assault requires an intent to injure).

        Many model jury instructions, including the Seventh Circuit Pattern Criminal Jury Instruction

defining assault state that “assault” means “to intentionally attempt or threaten to inflict bodily injury


                                                     3
            Case 1:21-cr-00552-DLF Document 63 Filed 02/23/23 Page 4 of 7



upon another person with the apparent and present ability to cause such injury that creates in the

victim a reasonable fear or apprehension of bodily harm.

        Plainly, Mr. Thomas’ alleged conduct on January 6, of merely rubbing, pushing or brushing

with parts of his body against police shields does not constitute “assault” as contemplated in 18 U.S.C.

Section 111(a). In the words of the Vallery Court:

        There is no dispute that “simple assault” is a crime “committed by either a willful
        attempt to inflict injury upon the person of another, or by a threat to inflict injury upon
        the person of another which, when coupled with an apparent present ability, causes a
        reasonable apprehension of immediate bodily harm.” Chestaro, 197 F.3d at 605
        (quoting United States v. Johnson, 637 F.2d 1224, 1242 n. 26 (9th Cir.1980)); accord
        United States v. Ramirez, 233 F.3d 318, 321–22 (5th Cir.2000), overruling on other
        grounds recognized by United States v. Longoria, 298 F.3d 367, 372 n. 6 (5th Cir.2002).
437 F.3d 626, at 631.


      Thomas’ struggle with the five officers at the Capitol on Jan. 6 was a single altercation
which constituted a single assault offense instead of five.
        “‘Multiplicity’ is the charging of a single offense in several counts.” 1 C. WRIGHT, FEDERAL

PRACTICE AND PROCEDURE, § 142, at 469 (1982). “The vice of multiplicity is that it may lead to

multiple sentences for the same offense * * *.” Id. at 475. Multiplicitous charges violate the 5th

amendment double jeopardy clause.

        It appears that the totality of allegations in Thomas’ case involve two 30-second scrums amid

crowd chaos on January 6 wherein Thomas brushed against or pushed officer shields while videoing

the scene with his right hand. Theses facts of Thomas’ case are in accord with Ladner v. United States,

358 U.S. 169 (1958). In Ladner, two federal officers were injured by a single discharge of the

defendant's shotgun. The defendant was convicted and sentenced on two counts of assaulting an

officer with a deadly weapon, in violation of 18 U.S.C. (1940 ed.) § 254 (now 18 U.S.C. § 111). The
                                                     4
            Case 1:21-cr-00552-DLF Document 63 Filed 02/23/23 Page 5 of 7



Supreme Court reversed Ladner’s convictions, stating “we cannot find that Congress intended that a

single act of assault [i.e., the single discharge of a shotgun] affecting two officers constitutes two

offenses under the statute.” Id. at 176, 79 S.Ct. at 213.

        In United States v. Theriault, 531 F.2d 281 (5th Cir.), cert. denied, 429 U.S. 898 (1976) a defendant

was sentenced to two consecutive three-year terms for assaulting two federal officers. The assaults in

that instance arose out of a single act of the defendant hurling himself over the front seat of a vehicle

into the steering wheel. On appeal, the court held it was error to sentence the defendant for two

separate offenses under the statute. The court stated that in determining whether a defendant can be

convicted for more than one assault under 18 U.S.C. § 111, “[t]he test is whether there is more than

one act resulting in the assaults, not whether more than one federal officer is injured by the same act.”

Id. at 285 (citation omitted).

        In United States v. Kazenbach, 824 F.2d 649 (8th Cir. 1987), a defendant argued that his prison

struggle with three guards was a single altercation which constituted a single assault offense instead of

three. The Court rejected the argument because “the evidence sufficiently proved that Kazenbach first

struck at Officer Burton while still in his cell, and later bit Officer Siemiatkowski and scratched Officer

Small during the officers' attempt to restrain Kazenbach to the bed in the lock-down room.”

                Thus, courts generally hold that actions may constitute separate “assaults” where a

defendant acts in different ways vis-à-vis different officers. See, e.g., United States v. Hodges, 436 F.2d

676 (10th Cir.), cert. denied, 403 U.S. 908, 91 S.Ct. 2214, 29 L.Ed.2d 684 (1971), where Hodges gave

each one of the five corrections officers individual attention, and in succession did forcibly assault and

resist each of the five, all of which constitutes five violations of 18 U.S.C. § 111, not one. When a

defendant has time to reconsider his actions, “each assault separated by time” constitutes a separate

                                                     5
            Case 1:21-cr-00552-DLF Document 63 Filed 02/23/23 Page 6 of 7



offense. State v. Harris, 243 S.W.3d 508, 511 (Mo.App.2008). Factors such as “time, place of

commission, and ... the defendant's intent, as evidenced by his conduct and utterances” determine

whether separate offenses should result from a single incident. State v. Childs, 684 S.W.2d 508, 511

(Mo.App.1984).

        Defendant Thomas, however, is accused of merely contacting multiple officers (or shields) with

one arm while holding his selfie phone with his other hand as Thomas buzzed across protest lines.

Under the analysis of numerous courts, Thomas’ alleged conduct should be charged as one count only.

See State v. Robinson, 872 S.E.2d 28, 37-38 (N.C. 2022) (vacating an entire guilty plea because “the State

may charge a defendant with multiple counts of assault only when there is substantial evidence that a

distinct interruption occurred between assaults.” (citations omitted).

        Defendant Thomas plainly did not form a separate intent for each of the alleged contacts with

police riot shields. Because there is no indication that Thomas reconsidered his actions between

contacts with law enforcement shields, the attack must be recognized as one assault offense allegation.

                                             CONCLUSION

        For all the above reasons, the assault charges need to be dismissed in this case.

                  Dated: February 23, 2023                     Respectfully Submitted,
                                                               /s/ John M. Pierce
                                                               John M. Pierce
                                                               John Pierce Law P.C.
                                                              21550 Oxnard Street
                                                              3rd Floor PMB #172
                                                              Woodland Hills, CA 91367
                                                              P: (213) 349-0054
                                                              jpierce@johnpiercelaw.com



                                                    6
        Case 1:21-cr-00552-DLF Document 63 Filed 02/23/23 Page 7 of 7



                                 CERTIFICATE OF SERVICE
   I, John M. Pierce, hereby certify that on this day, February 23, 2023, I caused a copy of the
foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.
                                           /s/ John M.
                                               Pierce
                                        John M. Pierce




                                              7
